 Case 2:15-cr-00087-D-BB Document 202 Filed 05/27/16                    Page 1 of 5 PageID 732


                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION
                        ______________________________________

UNITED STATES OF AMERICA

v.                                                            No. 2:15-CR-087-J
                                                              ECF
JONATHAN KHALID PETRAS                 (01)
WISAM IMAD SHAKER                      (02)
ESSA SOLAQA                            (03)
KHALID YOHANA                          (04)


      GOVERNMENT’S CONSOLIDATED RESPONSE TO DEFENDANTS’
                      MOTIONS IN LIMINE

       Jonathan Khalid Petras, Wisam Imad Shaker, Essa Solaqa, and Khalid Yohana

each filed a motion in limine. The motions are substantially similar, except that Shaker

and Yohana’s motions add an additional paragraph.            For the convenience of the Court,

the government will address the issues in the order raised in Petras’ motion and will then

address the additional paragraphs in Shaker and Yohana’s motions.

                                                 I.
                                              Argument

       1) Passenger concerns relayed by flight attendants

       The government opposes this limine request.           The defendants seek to prevent

the flight attendants, specifically Jamie Bergren and Leslie Rouch, from testifying about

what passenger Darge said regarding her encounter with one or more defendants.             This

evidence is relevant because Darge’s statements and her body language impacted the

flight attendants’ decision to ask the pilots to divert the aircraft.     Darge’s statements will
Government’s Consolidated Response to Defendants’ Motions in LimineB Page 1
 Case 2:15-cr-00087-D-BB Document 202 Filed 05/27/16                    Page 2 of 5 PageID 733


not be offered to prove the truth of matter asserted, but to show the effect on the

listener—the flight attendants—and are therefore not hearsay.           See Fed. R. Evid.

801(c)(2).    They also were Darge’s present-sense impression of an event or condition,

which is an exception to the hearsay rule.       See Fed. R. Evid. 803(1).     The Court’s

instructions to the jury will make clear that the defendants are on trial only for the crime

charged (i.e., interference with a flight crew member) and not for anything they said or

did to any passenger.

       2) Words or actions must be attributable to a particular defendant

       The government opposes this limine request.           The flight attendants and

passengers should be allowed to testify generally about what they saw and heard even if

they are unable to attribute the behavior or statement to a particular defendant.        This

evidence is relevant to understanding the totality of the circumstances on the aircraft

during the flight, and any failure to specify who did or said what goes to the weight of the

evidence and not its admissibility.       The probative value of such evidence, to the extent

that it raised the flight attendants’ alarm, is high, and any concern about unfair prejudice

or jury confusion can be resolved by the court’s instructions to the jury.       Ultimately, the

determination of which particular defendant is responsible for a specific act or statement

is a fact issue for the jury to decide.    Additionally, because the indictment charges the

defendants with interference with a flight crew and aiding and abetting, evidence

regarding the behavior and statements of others is relevant.




Government’s Consolidated Response to Defendants’ Motions in LimineB Page 2
 Case 2:15-cr-00087-D-BB Document 202 Filed 05/27/16                    Page 3 of 5 PageID 734


       3) Testimonial evidence must be precluded unless the source of the
          information is available for cross-examination at trial

       The government agrees.

       4) Evidence of any statements made by any defendant regarding any intent
          to sue Southwest Airlines

       The government agrees.

       5) Evidence regarding flight crew training and Southwest Airlines policies

       The government agrees.

       6) Costs incurred by Southwest Airlines in diverting the airplane

       The government agrees in part and opposes in part.           The government agrees not

to mention the exact cost of diverting the flight.      However, it is relevant for the jury to

understand, generally, that the flight attendants and flight crew try to avoid diverting an

aircraft for multiple reasons, such as cost and the inconvenience it causes to other

passengers, but that on August 31, 2016, the flight attendants and flight crew felt that

they could not avoid diverting the aircraft due to the defendants’ actions.

       7) Any evidence that Petras violated terms and conditions of pretrial release

       The government agrees.

       8) Any evidence that the flight attendants had never been on a diverted flight
          before this flight

       The government opposes this limine request advanced by Shaker.             The

government anticipates the flight attendants will each testify that they have dealt with

unruly and noncompliant passengers before, but they were able to take control of these


Government’s Consolidated Response to Defendants’ Motions in LimineB Page 3
 Case 2:15-cr-00087-D-BB Document 202 Filed 05/27/16                    Page 4 of 5 PageID 735


situations and continue the flights without diverting.        This stands in contrast to the flight

on August 31, 2015, in which the defendants’ disruptive actions could not be controlled

or handled by any flight attendant, causing the need to divert the aircraft.

       9) Interactions between Yohana and passengers not witnessed, heard, or
          observed by flight attendants

       The government opposes this limine request advanced by Yohana for the same

reasons set forth under number 1 above.         Specifically, this evidence is relevant because

Darge’s statements and her body language impacted the flight attendants’ decision to ask

the pilots to divert the aircraft.   The information is also relevant to show Yohana’s

overall behavior and demeanor on the aircraft.


                                               Respectfully submitted,

                                               JOHN R. PARKER
                                               UNITED STATES ATTORNEY

                                               /s/ Joshua Frausto
                                               JOSHUA FRAUSTO
                                               Assistant United States Attorney
                                               Texas State Bar No. 24074228
                                               500 South Taylor Street, Suite 300
                                               Amarillo, Texas 79101-2446
                                               Telephone: 806-324-2356
                                               Facsimile: 806-324-2399
                                               E-Mail:       joshua.frausto@usdoj.gov




Government’s Consolidated Response to Defendants’ Motions in LimineB Page 4
 Case 2:15-cr-00087-D-BB Document 202 Filed 05/27/16                    Page 5 of 5 PageID 736


                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 27, 2016, I electronically filed the foregoing

document with the clerk for the U.S. District Court, Northern District of Texas, using the

electronic case filing system of the court.      The electronic case filing system sent a

ANotice of Electronic Filing@ to the attorney of record who has consented in writing to

accept this Notice as service of this document by electronic means.


                                               /s/ Joshua Frausto
                                               JOSHUA FRAUSTO
                                               Assistant United States Attorney




Government’s Consolidated Response to Defendants’ Motions in LimineB Page 5
